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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Civil Action No. 1:24-cv-01093-RMR


 COLORADO APARTMENT ASSOCIATION et al.

                             Plaintiffs,

 v.

 JILL HUNSAKER RYAN, in her Official Capacity as the Executive Director of the
 Colorado Department of Public Health and Environment, et al.

                             Defendants.

 AND

 COALITION FOR COMMUNITY SOLAR ACCESS, COLORADO SOLAR AND
 STORAGE ASSOCIATION, NATURAL RESOURCES DEFENSE COUNCIL, AND
 SIERRA CLUB

                             Intervenor-Defendants.

 ______________________________________________________________________

            NOTICE OF GOVERNOR POLIS’ SIGNING OF HB 25-1269
 ______________________________________________________________________

        Plaintiffs, the Colorado Apartment Association and Apartment Association of Metro

 Denver, the Colorado Hotel and Lodging Association, Inc., and the NAIOP Colorado

 Chapter (collectively “Plaintiffs”) submit this Notice of Governor Polis’ Signing of HB 25-

 1269 (“Notice”). By this Notice, Plaintiffs respectfully Notify the Court that Governor Polis

 signed HB 25-1269 on May 20, 2025, making Plaintiffs’ motion for leave to amend now

 due on June 10, 2025.
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                                            NOTICE

          1.     In this case Plaintiffs have challenged two sets of regulations: (1) the

 Colorado      Air   Quality   Control   Commission’s   final   regulation   entitled   Building

 Benchmarking and Performance Standards, 5 CCR 1001-32 (“Regulation 28”) and (2) the

 City and County of Denver, Colorado’s Denver Ordinance No. 20211310, and the

 implementing rules for Energize Denver enacted by the Denver Office of Climate Action,

 Sustainability, and Resiliency, entitled “Rules & Regulations Governing Energize Denver

 Building Energy Performance Requirements”.

          2.     On March 28, 2025, this Court issued an order Granting State Defendants’

 and Denver Defendants’ Motions to Dismiss, dismissing Plaintiffs’ claims without

 prejudice, and granting Plaintiffs leave to file a motion for leave to amend, together with

 a proposed amended complaint, within twenty-one (21) days of the date of the order, or

 by April 18, 2025. ECF No. 55.

          3.     During the time period in which Plaintiffs were directed to file an amended

 complaint, the Colorado Legislature was in the process of amending the energy use

 benchmarking and performance standard requirements upon which Regulation 28 is

 based, including modifying provisions of Regulation 28. The foremost proposal was

 House Bill 25-1269, entitled Building Decarbonization Measures, which was introduced

 on February 18, 2025. See https://leg.colorado.gov/bills/hb25-1269 (last visited May 22,

 2025).

          4.     On April 4, 2024, Plaintiffs filed an unopposed motion for an extension of

 time to file their motion for leave to amend their complaint so that Plaintiffs could evaluate



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 any finalized and adopted legislation modifying Regulation 28 (and the authorizing

 statutory authority on which Regulation 28 was adopted). ECF No. 56. This Court

 granted that motion on the same day and directed Plaintiffs to file a notice at the

 conclusion of the legislative process. ECF No. 57.

       5.     On May 7, 2025, the Colorado Legislature passed HB 25-1269.               The

 legislative session concluded the same day. HB 25-1269 was transmitted to Governor

 Polis on May 16, 2025.

       6.     On May 20, 2025, Plaintiffs sought clarification that their motion for leave to

 amend would not be due until 21 days after Governor Polis’ final action on HB 25-1269,

 given that Governor Polis’ final action on HB 25-1269 would now occur after the end of

 the legislative session on May 7, 2025. ECF No. 59. This Court granted that clarification

 on May 22, 2025. ECF No. 60.

       7.     After Plaintiffs filed their notice seeking clarification on May 20, 2025,

 Governor Polis took final action on HB 25-1269 by signing the bill the same day. See

 https://leg.colorado.gov/bills/hb25-1269 (last visited May 22, 2025)

       8.     Pursuant to this Court’s May 22, 2025 Order, Plaintiffs’ motion for leave to

 amend is now due 21 days from May 20, 2025, on or before June 10, 2025.




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 Dated: May 22, 2025

                                   GREENBERG TRAURIG, LLP

                                   /s/ Paul M. Seby
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd of May 2025, a copy of the foregoing was served
 upon all parties using the Court e-filing system.


                                         s/ Paul M. Seby
                                         Paul M. Seby




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